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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Senior Judge John L. Kane


Date: March 12, 2018                           Deputy Clerk: Bernique Abiakam
                                                             Emily Buchanan
                                               Court Reporter: Terri Lindblom
Interpreters: Hasmik Jorgensen
              Irina Kamensky
              Muhitdin Ahunhodjaev

Criminal Action No.:12-cr-00033-JLK-2

UNITED STATES OF AMERICA,                            Gregory A. Holloway
                                                     Beth N. Gibson
                                                     Julia K. Martinez

      Plaintiff,

v.

2.    BAKHTIYOR JUMAEV,                              David B. Savitz
                                                     Mitchell Baker
                                                     Emily Boehme

      Defendants.


                               COURTROOM MINUTES

Jury Trial Day 1 - Jury selection

10:12 a.m.    Court in session.

Court calls case. Appearances of counsel. Defendant present, in custody.

Jury panel not present.

Interpreters sworn.

Preliminary remarks by the Court.

Discussion regarding stipulations to excusing empaneled jurors for cause.

The following empaneled jurors are excused for cause :

24, 26, 96, 194, 197, 395, 602, 653, 698, 707, 742, 395, 229, 392, 388, and 733.

Discussion regarding peremptory challenges, and alternates.
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10:31 a.m.                Court in recess.

10:52 a.m.                Court in session.

Comments by the Court regarding the trial schedule during voir dire.

11:03 a.m.                Court in recess.

1:36 p.m.                 Court in session.

1:51 p.m.                 Jury panel enters the courtroom.

Preliminary remarks and instruction by the Court.

The first 16, randomly selected, jury panel members called and seated in the jury box.

Entire jury panel sworn for voir dire.

Introduction of counsel, Defendant - Mr. Jumaev, and courtroom/Chambers staff.

2:21 p.m.                 The remaining jury panel members excused and directed to call the jury
                          line for further instruction.

Comments by the Court.

2:25 p.m.                 Voir dire begins by the Court.

2:31 p.m.                 Voir dire begins by the Government (Mr. Holloway).

3:00 p.m.                 Court in recess.

3:21 p.m.                 Court in session.

Voir dire begins by Mr. Savitz.

4:27 p.m.                 Jury panel excused and directed to call the jury line after 5:30 p.m. for
                          further instruction.

Discussion regarding challenges for cause.

Government stated the following challenges for cause with no objection by the
Defendant:

             Jurors #149, #99, #730, and #320.

Defendant states his challenge for cause - #340. Objection by the Government.
OVERRULED.

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Juror #340 excused for cause.

Jury selection will continue tomorrow morning at 9:00 a.m.


ORDERED: Defendant is REMANDED to the custody of the United States Marshal for
         the District of Colorado.

4:42 p.m.     Court in recess.
Trial continued.
Time in court - 3 hours, 15 minutes.




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